
Green, J.
delivered the opinion of tbe court.
Tbis is a bill to set aside an award, and to obtain a decree for certain slaves claimed by the complainant. It is alledged in the bill that Beason, one of the arbitrators, acted partially and corruptly in making the award, and in refusing to re-hear the cause, after the award was made and delivered.
The grounds relied on to establish the corruption of the arbitrator, are, that he was requested by one of the parties to examine witnesses; and that he did, during the trial ask questions of witnesses; and that he read to the arbitrators a paper that was not evidence: the objection was made at the time. We do not think these circumstances, in the absence of other proof, sufficient to establish the charge of partiality.
A judge may very properly ask questions of witnesses; and especially may an arbitrator do so, as the tribunal is less dignified, less formal, and usually unassisted by council. That the arbitrator was requested to question the witness, is no proof of partiality. There was nothing secret about it; nothing that showed the existence of an influence in favor of the party making the request.
*1562. The complainant insists that as three of the five arbitrators agreed to re-hear the case, he ought to have had the benefit of another trial, and that the award is not binding.
The proof shows, that the award was agreed on, and was signed by all the arbitrators, and that on the same evening, after they had left the house where the arbitration had taken place, three of the five arbitrators agreed, in writing, to give the complainant a new trial; but that the arbitrator, Beason, refused, when applied to for that purpose, to re-hear the case.
We think this arbitrator acted correctly in refusing to re-hear the case, under the circumstances. Unquestionably, an arbitrator may, before an award is made up and delivered, keep the case open for consideration or further proof and investigation. But after he has made up and delivered his award, his power is at an end. He cannot recall the case and reinstate it before him.
Upon the whole, we perceive no error in this record, and affirm the decree.
